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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 24-1077                                                September Term, 2023
                                                                   FERC-ER18-1639-000
                                                                   FERC-ER18-1639-028
                                                  Filed On: May 17, 2024 [2055045]
Constellation Mystic Power, LLC,

              Petitioner

      v.

Federal Energy Regulatory Commission,

              Respondent

                                        ORDER

      Upon consideration of respondent’s unopposed motion to hold case in abeyance
and suspend filing of the certified index to the record, it is

      ORDERED that the motion be granted, and this case is hereby held in abeyance
pending further order of the court.

       The parties are directed to file motions to govern future proceedings in this case
by July 16, 2024.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Catherine J. Lavender
                                                         Deputy Clerk
